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                         1N THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION                                  20211   FEB 27   f)f
                                                                                                            2: 514

SHERRI HILL, INC.,
                       PLAINTIFF,

V.

OCCASION BRANDS, LLC DBA
PROMGIRL, SIMPLY DRESSES, AND
KLEINFELD,
                               rYD
                                      TRANSFER ORDER

       Before the court is the above-styled and numbered cause. It appears to the court that the

above-styled and numbered cause should be transferred from the docket ofthe Honorable Lee Yeakel

to the docket of the Honorable James Nowlin, Senior United States District Judge, both judges

having consented to the transfer.

       IT IS ORDERED that the above-styled and numbered cause is TRANSFERRED to the

Austin Docket ofthe Honorable James Nowlin, Senior United States District Judge, for all purposes.

Pursuant to the Amended Order Assigning the Business of the Court effective January 1, 2020, the

Clerk shall credit this case to the percentage of business of the receiving Judge.

       SIGNED thi                day of February, 2020.




                                                   TED STAT
